Case 20-18445-JKS         Doc 511     Filed 10/29/20 Entered 10/29/20 12:02:48               Desc Main
                                     Document      Page 1 of 4




 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY                                              Order Filed on October 29, 2020
                                                                     by Clerk
 Caption in Compliance with D.N.J. LBR 9004-1(b)                     U.S. Bankruptcy Court
 COLE SCHOTZ P.C.                                                    District of New Jersey

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                                                       Chapter 11
 and Debtors in Possession
                                                       Case No. 20-18445 (JKS)
 In re:
                                                       (Jointly Administered)
 RTW RETAILWINDS, INC., et al.,
                                                       Hearing Date and Time:
                                 Debtors.1             October 28, 2020, at 10:00 a.m. (ET)


 FINAL ORDER (I) AUTHORIZING USE OF CASH COLLATERAL AND AFFORDING
        ADEQUATE PROTECTION; (II) MODIFYING AUTOMATIC STAY;
                   AND (III) GRANTING RELATED RELIEF

          The relief set forth on the following pages, numbered two (2) through four (4), is hereby

ORDERED.


  DATED: October 29, 2020
Case 20-18445-JKS                Doc 511    Filed 10/29/20 Entered 10/29/20 12:02:48            Desc Main
                                           Document      Page 2 of 4



(Page 2)
Debtors:                       RTW RETAILWINDS, INC., et al.
Case No.                       20-18445 (JKS)
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            THIS MATTER having come before the Court upon the motion (the “Motion”) of Lerner

New York, Inc., Lernco, Inc., Lerner New York Outlet, LLC, Lerner New York FTF, LLC, RTW

RetailWinds, Inc., Lerner New York Holding, Inc., Lerner New York GC, LLC, New York &

Company Stores, Inc., and FTG GC, LLC, each as a debtor and debtor-in-possession (each

individually, a “Debtor”, and collectively, the “Debtors”) in the above-captioned jointly

administered Chapter 11 cases (each individually a “Case” and collectively, the “Cases”), seeking

entry of interim and Final Orders (as defined herein) pursuant to Sections 105, 361, 362, 363, 507,

and 552 of Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) and Rules

2002, 4001, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”)(Doc. No. 24), inter alia:


            (a)         authorizing the Debtors’ use of cash collateral, as such term is defined in section

363(a) of the Bankruptcy Code, subject to the terms of this Final Order, and granting adequate

protection to the Prepetition Credit Parties (as defined in the Interim Order) in respect of their

rights under the Financing Agreements (as defined in the Interim order), as applicable, and their

interests in the Prepetition Collateral (as defined in the Interim Order) pursuant to sections 105,

361, 362, 363, and 507 of the Bankruptcy Code with respect to any Diminution in Value (as defined

in the Interim Order) of such rights and interests on and after the Petition Date (as defined below);




60917/0001-21554540v1
Case 20-18445-JKS                Doc 511      Filed 10/29/20 Entered 10/29/20 12:02:48      Desc Main
                                             Document      Page 3 of 4



(Page 3)
Debtors:                        RTW RETAILWINDS, INC., et al.
Case No.                        20-18445 (JKS)
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            (b)         vacating and modifying the automatic stay arising under section 362 of the

Bankruptcy Code in accordance with the provisions hereof, to the extent necessary to implement

and effectuate the terms and provisions of this Final Order; and

            (c)         granting certain related relief.

            The initial hearing on the Motion having been held by this Court on July 15, 2020, a second

interim hearing having been held by this Court on August 25, 2020, and the final hearing on the

Motion having been held by this Court on October 28, 2020 (the “Final Hearing”), and the Court

having considered the Motion, the Declaration of Robert Shapiro in Support of First Day Motions

(Doc. No. 25) , the other filings and pleadings in the above-captioned Cases, and the evidence

submitted or adduced and the arguments of counsel made at the Final Hearing; and notice of the

Final Hearing having been given in accordance with Bankruptcy Rules 2002, 4001(b)(c), and (d),

and 9014; and on July 15, 2020 the Court having entered its Interim Order (I) Authorizing Use of

Cash Collateral and Affording Adequate Protection; (II) Modifying Automatic Stay; (III)

Scheduling a Final Hearing; and (IV) Granting Related Relief [Doc. No. 49] (the “Interim Order”);

and on August 26, 2020 the Court having entered its Second Interim Order (I) Authorizing Use of

Cash Collateral and Affording Adequate Protection; (II) Modifying Automatic Stay; (III)

Scheduling a Final Hearing; and (IV) Granting Related Relief [Doc. No. 259] (the “Second

Interim Order”);and the Final Hearing to consider the final relief requested in the Motion having

been held and concluded; and all objections, if any, to the final relief requested in the Motion




60917/0001-21554540v1
Case 20-18445-JKS                Doc 511    Filed 10/29/20 Entered 10/29/20 12:02:48            Desc Main
                                           Document      Page 4 of 4



(Page 4)
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having been withdrawn, resolved, or overruled by the Court; and it appearing to the Court that

granting the relief set forth herein is fair and reasonable, in the best interests of the Debtors, and

sufficient cause appearing therefor;

            IT IS HEREBY ORDERED AS FOLLOWS:

            1.          Motion Granted. The Motion is GRANTED on a final basis on the terms set forth

in the Interim Order and Second Interim Order. Any objection to the Motion, to the extent not

withdrawn, waived or resolved, is hereby overruled on the merits.

            2.          Incorporation & Final Relief. The Interim Order and Second Interim Order are

incorporated and adopted in full in this Final Order and the relief granted in the Interim Order and

Second Interim Order is granted in this Final Order on a final basis, without further order of this

Court and any conditions set forth in the Interim Order and Second Interim Order are satisfied by

this Final Order.

            3.          Retention of Jurisdiction. The Court retains jurisdiction and power with respect to

all matters arising from or related to the implementation or interpretation of this Final Order.




60917/0001-21554540v1
